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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On October 15, 2024, I caused a true and correct copy of the following documents to be

served via the Court’s ECF system.

         On October 15, 2024, I caused a true and correct copy of the following documents to be

served via electronic mail upon the parties set forth on the service list annexed hereto as Exhibit

A.

         On October 15, 2024, I also caused a true and correct copy of the following documents to

be served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit B:




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


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    •   NOTICE OF HEARING ON THE APPLICATION OF THE OFFICIAL
        COMMITTEE OF UNSECURED CREDITORS FOR ORDER (I) AUTHORIZING
        AND APPROVING THE EMPLOYMENT OF WILLIAM L. BETTINELLI AS
        ABUSE CLAIMS REVIEWER AND (II) AUTHORIZING ACTIONS TO BE
        TAKEN PURSUANT TO [PROPOSED] TRUST ALLOCATION PROTOCOL
        [DOCKET NO. 3299]

    •   APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
        CREDITORS FOR ORDER (I) AUTHORIZING AND APPROVING THE
        EMPLOYMENT OF WILLIAM L. BETTINELLI AS ABUSE CLAIMS
        REVIEWER AND (II) AUTHORIZING ACTIONS TO BE TAKEN PURSUANT
        TO [PROPOSED] TRUST ALLOCATION PROTOCOL [DOCKET NO. 3298]
        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.

Dated: October 15, 2024

                                                     /s/ Janice G. Washington
                                                        Janice G. Washington




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                                        EXHIBIT A

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                                        EXHIBIT B

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